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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ANDREW HANSEN,                          )
                                        )
                                        )     Civil Action File
      Plaintiff,                        )     No. 5:21-cv-00109
                                        )
vs.                                     )     COMPLAINT
                                        )
PRO ROOFING & SIDING LLC,               )
                                        )     JURY DEMAND
      Defendant.                        )

                                   COMPLAINT

      Plaintiff Andrew Hansen (“Plaintiff”), by and through counsel, files this

Complaint against Defendant Pro Roofing & Siding LLC (“Pro Roofing” or

“Defendant”) and alleges that Defendant violated the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201, et seq., by failing to pay Plaintiff proper overtime wages.

Plaintiff files this Complaint against Defendant to recover unpaid wages, liquidated

damages, prejudgment interest, costs, and attorneys’ fees.

      In support of his claim, Plaintiff asserts as follows:

                                INTRODUCTION

      1.      This lawsuit arises from the failure of Defendant to properly calculate

and pay Plaintiff overtime wages during the period approximately May 2021 through

August 2021.
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                             JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331. This

case involves a question of federal law pursuant to the FLSA. Damages are proper

pursuant to 29 U.S.C. §§ 207, and 216.

       3.      This Court has personal jurisdiction over Defendant.

       4.      Venue is proper in the Northern District of Georgia pursuant to 28

U.S.C. § 1391. Defendant transacts business in this judicial district, and a substantial

portion of the events giving rise to the claims alleged herein by Plaintiff occurred in

this judicial district.

                                     THE PARTIES

       5.      Plaintiff is a citizen and resident of Georgia in this district and division.

       6.      Defendant is a Georgia corporation with its principal office address on

file with the Georgia Secretary of State as 2558 Canton Rd, Marietta, GA, 30066.

       7.      Defendant’s registered agent on file with the Georgia Secretary of State

is Juan A. Reyes located at 2558 Canton Rd, Marietta, GA, 30066.

       8.      Defendant had annual gross revenue and volume of sales in excess of

$500,000.00 for each year in the relevant period.

       9.      At all relevant times, Defendant has continuously been an employer

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engaged in interstate commerce and/or the production of goods for commerce,

within the meaning of the FLSA, 29 U.S.C. § 207(a).

        10.   Defendant employed Plaintiff throughout the relevant period.

                    FACTUAL BASIS OF PLAINTIFF’S CLAIMS

        11.   Plaintiff was employed by Defendant as a project manager assistant.

        12.   At all times during his employment, Plaintiff was a non-exempt

employee of Defendant.

        13.   At all relevant times, Plaintiff was an “employee” of Defendant as that

term is defined in 29 U.S.C. § 203(e)(1).

        14.   At all relevant times, Defendant employed Plaintiff within the meaning

of the FLSA.

   A. Plaintiff’s Employment with Defendant.

        15.   Defendant hired Plaintiff in approximately May 2021.

        16.   Plaintiff’s employment with Defendant ended in approximately August

2021.

        17.   Plaintiff was employed as a project manager assistant and his duties

included, but were not limited to, performing installations, repairs, and maintenance

on residential homes, taking photos before and after job performance, picking up

and delivering materials to jobsites, and working with other employees to ensure

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proper job performance.

      18.    In performing his job duties for Defendant, Plaintiff did not perform

executive functions or have any duties with regard to managing any aspect of

Defendant’s operations.

      19.    In performing his job duties for Defendant, Plaintiff did not direct or

supervise the work of any employees.

      20.    In performing his job duties for Defendant, Plaintiff did not have the

authority to hire or fire any employee or make suggestions or recommendations as

to the hiring, firing, or changing the status of any employee.

      21.    In performing his job duties for Defendant, Plaintiff did not exercise

any discretion or independent judgment with regard to matters of significance.

      22.    Plaintiff’s job duties did not include primary work that requires

knowledge of any advanced type in a field customarily acquired by prolonged,

specialized, intellectual instruction or study.

   B. Plaintiff’s Unpaid Overtime.

      23.    Defendant paid Plaintiff a flat weekly salary regardless of the amount

of hours Plaintiff worked.

      24.    Defendant denied Plaintiff payment of overtime wage compensation

required by the FLSA for any hours working in excess of 40 hours per workweek.

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      25.    While Plaintiff’s schedule varied, he regularly worked in excess of 40

hours per workweek.

      26.    Defendant willfully and/or deliberately failed to pay Plaintiff his earned

overtime wages for hours worked in excess of 40 hours per workweek in violation

of the FLSA.

      27.    Defendant maintained records of hours that Plaintiff worked.

                             COUNT I
               FAIR LABOR STANDARDS ACT VIOLATIONS
                            OVERTIME

      28.    Plaintiff realleges and incorporates by reference the preceding

paragraphs of the Complaint as if they were set forth fully herein.

      29.    At all relevant times, Defendant was engaged in interstate commerce

and/or the production of services for commerce, within the meaning of the FLSA,

29 U.S.C. § 207(a).

      30.    At all relevant times, Defendant employed Plaintiff within the meaning

of the FLSA, 29 U.S.C. §§ 201 et seq.

      31.    At all relevant times, Defendant was an enterprise (as that term is

defined in the FLSA, 29 U.S.C. § 203(r) and (s)(1)) with multiple employees

(including Plaintiff) who were engaged in commerce or in handling, selling, or

otherwise working on goods or materials that have been moved in or produced for

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commerce by any person.

      32.    Defendant had annual gross revenue and volume of sales in excess of

$500,000.00 for each year in the relevant period.

      33.    At all relevant times, Defendant had a policy and practice of failing to

pay Plaintiff for all hours worked, including overtime hours, in violation of the

FLSA.

      34.    The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of the statute, 29 U.S.C. § 255(a).

      35.    Plaintiff suffered damages due to Defendant’s willful misconduct.

      36.    Due to Defendant’s FLSA violations, Plaintiff was damaged and is

entitled to recover from Defendant compensation for unpaid overtime wages; an

additional equal amount as liquidated damages; and reasonable attorneys’ fees,

costs, and disbursements of this action, pursuant to 29 U.S.C. § 216(b).

                             PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff respectfully requests a trial by jury and that this

Court grant the following relief:

      A.     An award of compensation for unpaid overtime wages to Plaintiff;

      B.     An award of all liquidated damages for unpaid overtime wages to

             Plaintiff;

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      C.      All such legal or equitable relief available pursuant to 29 U.S.C. § 216;

      D.      An award of costs and expenses of this action together with reasonable

              attorneys’ and expert fees to Plaintiff; and

      E.      Such other and further relief as this Court deems just and proper.



Respectfully submitted this October 21, 2021,

                                               HALL & LAMPROS, LLP

                                               /s/ Gordon Van Remmen
                                               Gordon Van Remmen
                                               Georgia Bar No. 215512
                                               Brittany A. Barto
                                               Georgia Bar No. 501673

400 Galleria Pkwy SE, Suite 1150
Atlanta, GA 30339
Tel.: (404) 876-8100
Fax: (404) 876-3477
gordon@hallandlampros.com
brittany@hallandlampros.com

Attorneys for Plaintiff


Counsel for Plaintiff certifies that this Complaint is in 14-point Times New Roman
Font in compliance with the Local Rules of the Northern District of Georgia.




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